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                              IN THE UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF FLORIDA
                                             MIAMI

   Daniel Getz, individually and on behalf of all others                   CLASS ACTION
   similarly situated,

         Plaintiff,                                                  JURY TRIAL DEMANDED

   vs.

   The DIRECTV Group, Inc., a California Corporation
   and Viasat, Inc., d/b/a Exede Internet, a California
   Corporation,

     Defendants.
   ______________________________________/

                                      CLASS ACTION COMPLAINT

             1.       Plaintiff Daniel Getz brings this action against Defendants, The Directv Group,

  Inc., (“DIRECTV”) and Viasat, Inc., d/b/a Exede Internet (“Exede”) (collectively referred to as

  “Defendants”), to secure redress for violations of the Telephone Consumer Protection Act

  (“TCPA”), 47 U.S.C. § 227.

                                         NATURE OF THE ACTION

             2.       This is a putative class action pursuant to the Telephone Consumer Protection Act, 47

  U.S.C. § 227 et seq., (the “TCPA”).

             3.       DIRECTV provides television services to commercial and residential consumers.

             4.       Exede provides internet and telephone services to commercial and residential

  consumers.

             5.       DIRECTV and Exede, as a part of a joint-marketing effort, offer their existing

  consumers special discounts and specials when they purchase additional products provided by

  Defendants.
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          6.      For example, with the permission and approval of DIRECTV, Exede will offer special

  discounts to Exede customers that purchase new DIRECTV products.

          7.      Likewise, with the permission and approval of Exede, DIRECTV will offer special

  discounts to DIRECTV customers that purchase new Exede products.

          8.      To promote their respective services, Defendants engage in unsolicited marketing,

  harming thousands of consumers in the process.

          9.      At issue here is Exede’s automated text messaging marketing that was approved,

  consented to, controlled, and/or ratified by DIRECTV. Further DIRECTV knowingly received and

  retained monetary benefit from Exede’s telemarketing activities.

          10.     Defendants caused thousands of unsolicited text messages to be sent to the cellular

  telephones of Plaintiff and Class Members, causing them injuries, including invasion of their

  privacy, aggravation, annoyance, intrusion on seclusion, trespass, and conversion.

          11.     Through this action, Plaintiff seeks injunctive relief to halt Defendants illegal conduct,

  which has resulted in the invasion of privacy, harassment, aggravation, and disruption of the daily life

  of thousands of individuals. Plaintiff also seeks statutory damages on behalf of himself and members

  of the class, and any other available legal or equitable remedies.

                                      JURISDICTION AND VENUE

          12.     Jurisdiction is proper under 28 U.S.C. § 1331 as Plaintiff alleges violations of a federal

  statute. Jurisdiction is also proper under 28 U.S.C. § 1332(d)(2) because Plaintiff alleges a national class,

  which will result in at least one class member belonging to a different state than that of Defendants.

  Plaintiff seeks up to $1,500.00 in damages for each call in violation of the TCPA, which, when

  aggregated among a proposed class numbering in the tens of thousands, or more, exceeds the

  $5,000,000.00 threshold for federal court jurisdiction under the Class Action Fairness Act (“CAFA”).

  Therefore, both the elements of diversity jurisdiction and CAFA jurisdiction are present.
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          13.     Venue is proper in the United States District Court for the Southern District of Florida

  pursuant to 28 U.S.C. § 1391(b) and (c) because Defendants are deemed to reside in any judicial district

  in which it is subject to the court’s personal jurisdiction, and because Defendants provides and markets

  their services within this district thereby establishing sufficient contacts to subject it to personal

  jurisdiction. Further, Defendants tortious conduct against Plaintiff occurred within the State of Florida

  and, on information and belief, Defendants has sent the same text messages complained of by Plaintiff

  to other individuals within this judicial district, such that some of Defendants acts in making such calls

  have occurred within this district, subjecting Defendants to jurisdiction in the State of Florida.

                                                 PARTIES

          14.     Plaintiff is a natural person who, at all times relevant to this action, was a resident of

  Miami Dade County, Florida.

          15.     DIRECTV is a California corporation whose principal office is located at 2230 East

  Imperial Highway El Segundo, CA 90245. DIRECTV directs, markets, and provides its business

  activities throughout the State of Florida.

          16.     Exede is a California Corporation whose principal office is 6155 El Camino Real

  Carlsbad, CA 92009. Exede directs, markets, and provides its business activities throughout the State

  of Florida.

                                                THE TCPA

          17.     The TCPA prohibits: (1) any person from calling a cellular telephone number; (2) using

  an automatic telephone dialing system; (3) without the recipient’s prior express consent. 47 U.S.C. §

  227(b)(1)(A).

          18.     The TCPA defines an “automatic telephone dialing system” (“ATDS”) as “equipment

  that has the capacity - (A) to store or produce telephone numbers to be called, using a random or

  sequential number generator; and (B) to dial such numbers.” 47 U.S.C. § 227(a)(1).
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            19.   In an action under the TCPA, a plaintiff must only show that the defendant “called a

  number assigned to a cellular telephone service using an automatic dialing system or prerecorded

  voice.” Breslow v. Wells Fargo Bank, N.A., 857 F. Supp. 2d 1316, 1319 (S.D. Fla. 2012), aff'd, 755

  F.3d 1265 (11th Cir. 2014).

            20.   The Federal Communications Commission (“FCC”) is empowered to issue rules and

  regulations implementing the TCPA. According to the FCC’s findings, calls in violation of the TCPA

  are prohibited because, as Congress found, automated or prerecorded telephone calls are a greater

  nuisance and invasion of privacy than live solicitation calls, and such calls can be costly and

  inconvenient. The FCC also recognized that wireless customers are charged for incoming calls whether

  they pay in advance or after the minutes are used. Rules and Regulations Implementing the Telephone

  Consumer Protection Act of 1991, CG Docket No. 02-278, Report and Order, 18 FCC Rcd 14014

  (2003).

            21.   In 2012, the FCC issued an order tightening the restrictions for automated telemarketing

  calls, requiring “prior express written consent” for such calls to wireless numbers. See In the Matter of

  Rules & Regulations Implementing the Tel. Consumer Prot. Act of 1991, 27 F.C.C.R. 1830, 1838 ¶ 20

  (Feb. 15, 2012)(emphasis supplied).

            22.   To obtain express written consent for telemarketing calls, a defendant must establish

  that it secured the plaintiff’s signature in a form that gives the plaintiff a “‘clear and conspicuous

  disclosure’ of the consequences of providing the requested consent….and having received this

  information, agrees unambiguously to receive such calls at a telephone number the [plaintiff]

  designates.” In re Rules & Regulations Implementing the Tel. Consumer Prot. Act of 1991, 27 F.C.C.R.

  1830, 1837 ¶ 18, 1838 ¶ 20, 1844 ¶ 33, 1857 ¶ 66, 1858 ¶ 71 (F.C.C. Feb. 15, 2012).

            23.   The TCPA regulations promulgated by the FCC define “telemarketing” as “the

  initiation of a telephone call or message for the purpose of encouraging the purchase or rental of, or

  investment in, property, goods, or services.” 47 C.F.R. § 64.1200(f)(12). In determining whether a
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  communication constitutes telemarketing, a court must evaluate the ultimate purpose of the

  communication. See Golan v. Veritas Entm't, LLC, 788 F.3d 814, 820 (8th Cir. 2015).

            24.   “Neither the TCPA nor its implementing regulations ‘require an explicit mention of a

  good, product, or service’ where the implication of an improper purpose is ‘clear from the context.’”

  Id. (citing Chesbro v. Best Buy Stores, L.P., 705 F.3d 913, 918 (9th Cir. 2012)).

            25.   “‘Telemarketing’ occurs when the context of a call indicates that it was initiated and

  transmitted to a person for the purpose of promoting property, goods, or services.” Golan, 788 F.3d at

  820 (citing 47 C.F.R. § 64.1200(a)(2)(iii); 47 C.F.R. § 64.1200(f)(12); In re Rules and Regulations

  Implementing the Telephone Consumer Protection Act of 1991, 18 F.C.C. Rcd at 14098 ¶ 141, 2003

  WL 21517853, at *49).

            26.   The FCC has explained that calls motivated in part by the intent to sell property, goods,

  or services are considered telemarketing under the TCPA.           See In re Rules and Regulations

  Implementing the Telephone Consumer Protection Act of 1991, 18 FCC Rcd. 14014, ¶¶ 139-142 (2003).

  This is true whether call recipients are encouraged to purchase, rent, or invest in property, goods, or

  services during the call or in the future. Id.

            27.   In other words, offers “that are part of an overall marketing campaign to sell

  property, goods, or services constitute” telemarketing under the TCPA. See In re Rules and

  Regulations Implementing the Telephone Consumer Protection Act of 1991, 18 FCC Rcd. 14014, ¶ 136

  (2003).

            28.   If a call is not deemed telemarketing, a defendant must nevertheless demonstrate that it

  obtained the plaintiff’s prior express consent. See In the Matter of Rules and Regulaions Implementing

  the Tel. Consumer Prot. Act of 1991, 30 FCC Rcd. 7961, 7991-92 (2015) (requiring express consent

  “for non-telemarketing and non-advertising calls”).

            29.   Further, the FCC has issued rulings and clarified that consumers are entitled to the same

  consent-based protections for text messages as they are for calls to wireless numbers. See Satterfield v.
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  Simon & Schuster, Inc., 569 F.3d 946, 952 (9th Cir. 2009) (The FCC has determined that a text message

  falls within the meaning of “to make any call” in 47 U.S.C. § 227(b)(1)(A)); Toney v. Quality Res., Inc.,

  2014 WL 6757978, at *3 (N.D. Ill. Dec. 1, 2014) (Defendant bears the burden of showing that it

  obtained Plaintiff's prior express consent before sending him the text message). (emphasis added).

          30.     As recently held by the United States Court of Appeals for the Ninth Circuit:

  “Unsolicited telemarketing phone calls or text messages, by their nature, invade the privacy and disturb

  the solitude of their recipients. A plaintiff alleging a violation under the TCPA ‘need not allege any

  additional harm beyond the one Congress has identified.’” Van Patten v. Vertical Fitness Grp., No.

  14-55980, 2017 U.S. App. LEXIS 1591, at *12 (9th Cir. May 4, 2016) (quoting Spokeo, Inc. v.

  Robins, 136 S. Ct. 1540, 1549 (2016) (emphasis original)).

                                                  FACTS

          31.     Defendants, acting within the scope of their contractual relationship, embarked upon an

  intrusive telemarketing campaign to promote their bundled telecom services.

          32.     Specifically, on February 9, 2018, Defendants sent the following telemarketing text

  messages to Plaintiff’s cellular telephone number ending in 9495 (the “9495 Number”):
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          33.     The text message Plaintiff received was transmitted to his cellular telephone, and within

  the time frame relevant to this action.

          34.     The text messages at issue constitute telemarketing because they encourage the future

  purchase or investment in property, goods, or services, i.e., selling television services.

          35.     The information contained in the text message advertises DIRECTV television services

  to Exede customers and offers a free gift card to those that open a DIRECTV account.

          36.     Plaintiff received the subject text within this judicial district and, therefore, Defendants

  violation of the TCPA occurred within this district. Upon information and belief, Defendants caused

  other text messages to be sent to individuals residing within this judicial district.

          37.     At no point in time did Plaintiff provide Defendants with his express written consent to

  be contacted using an ATDS.
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          38.     Plaintiff is the subscriber and sole user of the 9495 Number, and is financially

  responsible for phone service to the 9495 Number.

          39.     The impersonal and generic nature of Defendants text message, demonstrates that

  Defendant utilized an ATDS in transmitting the messages. See Jenkins v. LL Atlanta, LLC, No. 1:14-

  cv-2791-WSD, 2016 U.S. Dist. LEXIS 30051, at *11 (N.D. Ga. Mar. 9, 2016)(“These assertions,

  combined with the generic, impersonal nature of the text message advertisements and the use of a short

  code, support an inference that the text messages were sent using an ATDS.”) (citing Legg v. Voice

  Media Grp., Inc., 20 F. Supp. 3d 1370, 1354 (S.D. Fla. 2014) (plaintiff alleged facts sufficient to infer

  text messages were sent using ATDS; use of a short code and volume of mass messaging alleged would

  be impractical without use of an ATDS); Kramer v. Autobytel, Inc., 759 F. Supp. 2d 1165, 1171 (N.D.

  Cal. 2010) (finding it "plausible" that defendants used an ATDS where messages were advertisements

  written in an impersonal manner and sent from short code); Hickey v. Voxernet LLC, 887 F. Supp. 2d

  1125, 1130; Robbins v. Coca-Cola Co., No. 13-CV-132-IEG NLS, 2013 U.S. Dist. LEXIS 72725, 2013

  WL 2252646, at *3 (S.D. Cal. May 22, 2013) (observing that mass messaging would be impracticable

  without use of an ATDS)).

          40.     The text messages originated from telephone number 480-725-4465, a number which

  upon information and belief is owned and operated by Defendants.

          41.     The number used by Defendants (480-725-4465) is known as a “long code,” a standard

  10-digit phone number that enabled Defendants to send SMS text messages en masse, while deceiving

  recipients into believing that the message was personalized and sent from a telephone number operated

  by an individual.

          42.     Long codes work as follows: Private companies known as SMS gateway providers

  have contractual arrangements with mobile carriers to transmit two-way SMS traffic. These SMS

  gateway providers send and receive SMS traffic to and from the mobile phone networks' SMS centers,
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  which are responsible for relaying those messages to the intended mobile phone. This allows for the

  transmission of a large number of SMS messages to and from a long code.

          43.     Specifically, upon information and belief, Defendants utilized a combination of

  hardware and software systems to send the text messages at issue in this case. The systems utilized by

  Defendants have the current capacity or present ability to generate or store random or sequential

  numbers or to dial sequentially or randomly at the time the call is made, and to dial such numbers, en

  masse, in an automated fashion without human intervention.

          44.     Defendants unsolicited text messages caused Plaintiff actual harm, including invasion

  of his privacy, aggravation, annoyance, intrusion on seclusion, trespass, and conversion. Defendants

  text messages also inconvenienced Plaintiff and caused disruption to his daily life.

                                         CLASS ALLEGATIONS

          PROPOSED CLASS

          45.     Plaintiff brings this case as a class action pursuant to Fed. R. Civ. P. 23, on behalf of

  himself and all others similarly situated.

          46.     Plaintiff brings this case on behalf of a Class defined as follows:

                       All persons within the United States who, within the four
                       years prior to the filing of this Complaint, were sent a text
                       message, from Defendants or anyone on Defendants’
                       behalf, to said person’s cellular telephone number,
                       advertising Defendants’ services, without the recipients
                       prior express written consent.

          47.     Defendants and its employees or agents are excluded from the Class. Plaintiff does not

  know the number of members in the Class, but believes the Class members number in the several

  thousands, if not more.

             NUMEROSITY

          48.     Upon information and belief, Defendants have placed automated and/or prerecorded

  calls to cellular telephone numbers belonging to thousands of consumers throughout the United States
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  without their prior express consent. The members of the Class, therefore, are believed to be so numerous

  that joinder of all members is impracticable.

          49.      The exact number and identities of the Class members are unknown at this time and can

  only be ascertained through discovery. Identification of the Class members is a matter capable of

  ministerial determination from Defendants’ call records.

                COMMON QUESTIONS OF LAW AND FACT

          50.      There are numerous questions of law and fact common to the Class which predominate

  over any questions affecting only individual members of the Class. Among the questions of law and

  fact common to the Class are:

                       (1) Whether Defendants made non-emergency calls to Plaintiff’s and Class

                           members’ cellular telephones using an ATDS;

                       (2) Whether Defendants can meet its burden of showing that it obtained prior

                           express written consent to make such calls;

                       (3) Whether Defendants conduct was knowing and willful;

                       (4) Whether Defendants are liable for damages, and the amount of such damages;

                           and

                       (5) Whether Defendants should be enjoined from such conduct in the future.

          51.      The common questions in this case are capable of having common answers. If Plaintiff’s

  claim that Defendants routinely transmits text messages to telephone numbers assigned to cellular

  telephone services is accurate, Plaintiff and the Class members will have identical claims capable of

  being efficiently adjudicated and administered in this case.

                TYPICALITY

          52.      Plaintiff’s claims are typical of the claims of the Class members, as they are all based

  on the same factual and legal theories.

                PROTECTING THE INTERESTS OF THE CLASS MEMBERS
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            53.     Plaintiff is a representative who will fully and adequately assert and protect the interests

  of the Class, and has retained competent counsel. Accordingly, Plaintiff is an adequate representative

  and will fairly and adequately protect the interests of the Class.

                  PROCEEDING VIA CLASS ACTION IS SUPERIOR AND ADVISABLE

            54.     A class action is superior to all other available methods for the fair and efficient

  adjudication of this lawsuit, because individual litigation of the claims of all members of the Class is

  economically unfeasible and procedurally impracticable. While the aggregate damages sustained by the

  Class are in the millions of dollars, the individual damages incurred by each member of the Class

  resulting from Defendants wrongful conduct are too small to warrant the expense of individual lawsuits.

  The likelihood of individual Class members prosecuting their own separate claims is remote, and, even

  if every member of the Class could afford individual litigation, the court system would be unduly

  burdened by individual litigation of such cases.

            55.     The prosecution of separate actions by members of the Class would create a risk of

  establishing inconsistent rulings and/or incompatible standards of conduct for Defendants. For

  example, one court might enjoin Defendants from performing the challenged acts, whereas another may

  not. Additionally, individual actions may be dispositive of the interests of the Class, although certain

  class members are not parties to such actions.

                                                 COUNT I
                                Violations of the TCPA, 47 U.S.C. § 227(b)
                                  (On Behalf of Plaintiff and the Class)

            56.     Plaintiff re-alleges and incorporates the foregoing allegations as if fully set forth

  herein.

            57.     It is a violation of the TCPA to make “any call (other than a call made for

  emergency purposes or made with the prior express consent of the called party) using any

  automatic telephone dialing system … to any telephone number assigned to a … cellular telephone

  service ….” 47 U.S.C. § 227(b)(1)(A)(iii).
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          58.     “Automatic telephone dialing system” refers to any equipment that has the

  “capacity to dial numbers without human intervention.” See, e.g., Hicks v. Client Servs., Inc., No.

  07-61822, 2009 WL 2365637, at *4 (S.D. Fla. June 9, 2009) (citing FCC, In re: Rules and

  Regulations Implementing the Telephone Consumer Protection Act of 1991: Request of ACA

  International for Clarification and Declaratory Ruling, 07–232, ¶ 12, n.23 (2007)).

          59.     Defendants – or third parties directed by Defendants – used equipment having the

  capacity to dial numbers without human intervention to make non-emergency telephone calls to

  the cellular telephones of Plaintiff and the other members of the Class defined below.

          60.     These calls were made without regard to whether or not Defendants had first

  obtained express permission from the called party to make such calls. In fact, Defendants did not

  have prior express consent to call the cell phones of Plaintiff and the other members of the putative

  Class when its calls were made.

          61.     Defendants have, therefore, violated § 227(b)(1)(A)(iii) of the TCPA by using an

  automatic telephone dialing system to make non-emergency telephone calls to the cell phones of

  Plaintiff and the other members of the putative Class without their prior express written consent.

          62.     Defendants knew that it did not have prior express consent to make these calls, and

  knew or should have known that it was using equipment that at constituted an automatic telephone

  dialing system. The violations were therefore willful or knowing.

          63.     As a result of Defendants conduct and pursuant to § 227(b)(3) of the TCPA,

  Plaintiff and the other members of the putative Class were harmed and are each entitled to a

  minimum of $500.00 in damages for each violation. Plaintiff and the class are also entitled to an

  injunction against future calls. Id.

          WHEREFORE, Plaintiff, Daniel Getz, on behalf of himself and the other members of the

  Class, pray for the following relief:
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               a. A declaration that Defendants practices described herein violate the Telephone

                  Consumer Protection Act, 47 U.S.C. § 227;

               a. An injunction prohibiting Defendants from using an automatic telephone dialing

                  system to text message telephone numbers assigned to cellular telephones without

                  the prior express permission of the called party;

               c. An award of actual and statutory damages; and

               d. Such further and other relief the Court deems reasonable and just.

                                           COUNT II
                 Knowing and/or Willful Violation of the TCPA, 47 U.S.C. § 227(b)
                             (On Behalf of Plaintiff and the Class)

         64.      Plaintiff re-alleges and incorporates paragraphs 1-55 as if fully set forth herein.

         65.      At all times relevant, Defendants knew or should have known that its conduct as

  alleged herein violated the TCPA.

         66.      Defendants knew that it did not have prior express consent to make these calls, and

  knew or should have known that its conduct was a violation of the TCPA.

         67.      Because Defendants knew or should have known that Plaintiff and Class Members

  had not given prior express consent to receive its autodialed calls, the Court should treble the

  amount of statutory damages available to Plaintiff and the other members of the putative Class

  pursuant to § 227(b)(3) of the TCPA.

         68.      As a result of Defendants violations, Plaintiff and the Class Members are entitled

  to an award of $1,500.00 in statutory damages, for each and every violation, pursuant to 47 U.S.C.

  § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).

         WHEREFORE, Plaintiff, Daniel Getz, on behalf of himself and the other members of the

  Class, pray for the following relief:

               a. A declaration that Defendants practices described herein violate the Telephone

                  Consumer Protection Act, 47 U.S.C. § 227;
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            b. An injunction prohibiting Defendants from using an automatic telephone dialing

                system to call and text message telephone numbers assigned to cellular telephones

                without the prior express permission of the called party;

            c. An award of actual and statutory damages; and

            d. Such further and other relief the Court deems reasonable and just.

                                         JURY DEMAND

          Plaintiff and Class Members hereby demand a trial by jury.


  Dated: July 12, 2018



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